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 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                 DEFENDANTS NSO GROUP
13                                                TECHNOLOGIES LIMITED
                  Plaintiffs,                     AND Q CYBER TECHNOLOGIES
14                                                LIMITED’S ADMINISTRATIVE
           v.                                     MOTION TO CONSIDER WHETHER
15                                                ANOTHER PARTY’S MATERIAL
     NSO GROUP TECHNOLOGIES LIMITED               SHOULD BE SEALED
16   and Q CYBER TECHNOLOGIES LIMITED,
17                Defendants.
                                                  Action Filed: 10/29/2019
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     DEFENDANTS’ MOTION TO CONSIDER                                   Case No. 4:19-cv-07123-PJH
     WHETHER ANOTHER PARTY’S
     MATERIAL SHOULD BE SEALED
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 1   TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL OF RECORD:
 2             PLEASE TAKE NOTICE that pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants

 3   NSO Group Technologies Limited and Q Cyber Technologies Limited (“Defendants”) move the

 4   Court to consider whether certain exhibits attached to the parties’ Joint Letter Brief Regarding

 5   Defendants’ Request for Sanctions (the “Joint Letter Brief”) should be sealed (the “Sealed

 6   Documents”). Copies of the Sealed Documents are attached as Exhibits 1-6 to the declaration of

 7   Aaron S. Craig filed currently herewith.

 8             The Sealed Documents are materials that Plaintiffs WhatsApp LLC, f/k/a WhatsApp Inc.

 9   (“WhatsApp”), and Meta Platforms, Inc., f/k/a Facebook, Inc. (“Facebook” and, collectively,

10   “Plaintiffs”) have designated as “Highly Confidential - Attorney’s Eyes Only” under the Stipulated

11   Protective Order (Dkt. No. 132) or that are otherwise required at this time to be treated as though

12   so designated. Defendants have attached these documents as Exhibits 1-6 to the Joint Letter Brief.

13   Accordingly, Defendants move the Court to consider whether the Sealed Documents should be

14   sealed.

15             Defendants take no position as to whether these materials or information derived from these

16   materials satisfy the requirements for sealing.         They reserve the right to challenge any

17   confidentiality designations and to oppose any statement by Plaintiffs in accordance with Civil

18   Local Rule 79-5(f)(4).

19             For the reasons set forth above, Defendants respectfully request that the Court permit the

20   Sealed Documents to be conditionally filed under seal.

21   DATED: October 2, 2024                             KING & SPALDING LLP
22                                                      By: /s/ Aaron S. Craig
                                                            JOSEPH N. AKROTIRIANAKIS
23                                                          AARON S. CRAIG
24
                                                             Attorneys for Defendants NSO GROUP
25                                                           TECHNOLOGIES LIMITED and Q
                                                             CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ MOTION TO CONSIDER                     1                     Case No. 4:19-cv-07123-PJH
      WHETHER ANOTHER PARTY’S MATERIAL
      SHOULD BE SEALED
